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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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        VERNA MAXWELL CLARKE and              CASE NO. CV 16-04132 DSF (KSx)
   11 LAURA WITTMANN, individuals on
        behalf of themselves and others
   12 similarly situated,                     ORDER AND JUDGMENT
                                              GRANTING FINAL APPROVAL OF
   13               Plaintiffs,               CLASS ACTION SETTLEMENT
   14         vs.
   15 AMN SERVICES, LLC,

   16               Defendants.
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    1        Plaintiff moves for final approval of a Joint Stipulation and Settlement
    2 Agreement (Dkt. 126-6) resolving the wage statement claims asserted in this lawsuit

    3 on a class basis. The operative Third Amended Complaint asserts claims against

    4 AMN Services, LLC for unpaid overtime and inaccurate itemized wage statements,

    5 along with derivative claims for unfair business practices, waiting time penalties,

    6 and civil penalties. See Dkt. 34. This Court certified two California-wide classes

    7 pursuant to Rule 23 of the Federal Rules of Civil Procedure – an “Overtime Class”

    8 and a “Wage Statement Class” – and conditionally certified a nationwide Fair Labor

    9 Standards Act (FLSA) collective. See Dkt. 60. Following certification, a third-party
   10 administrator disseminated Court-approved notice to members of the certified

   11 classes and collective providing an opportunity to opt out of the Rule 23 classes and

   12 opt in to the FLSA collective.

   13        On June 26, 2018, this Court granted summary judgment in favor of
   14 Defendant as to the California and FLSA claims for unpaid overtime as well as the

   15 derivative state law claims based on the underpayment of overtime but denied

   16 summary judgment as to the wage statement claims. See Dkt. 106. The parties

   17 thereafter participated in a private mediation and reached an agreement to settle the

   18 wage statement claims.

   19        On January 11, 2019, Plaintiff Verna Maxwell Clarke, individually and on
   20 behalf of the certified Wage Statement Class, filed a motion for preliminary

   21 approval of the Settlement. See Dkt. 121. This Court granted preliminary approval

   22 of the Settlement on February 26, 2019 and ordered that the approved notice of the

   23 Settlement be disseminated to the Wage Statement Class. See Dkt. 123. In

   24 compliance with that Order, notice was sent to all members of the Wage Statement

   25 Class via first-class mail. The Court received no objections to the Settlement.

   26        The present motion for final approval of the Settlement was filed on May 20,
   27 2019, and a motion for attorneys’ fees, costs, service award and settlement

   28 administration expenses was filed on April 5, 2019. A final fairness hearing was
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    1 held on June 24, 2019.

    2        The Court has now considered all papers, evidence and argument submitted
    3 regarding the Settlement. Based on the foregoing, IT IS ORDERED, ADJUDGED

    4 AND DECREED:

    5        1.     The Court grants final approval of the Settlement and finds that it is
    6 fair, reasonable, and adequate and satisfies the standards for final approval of a class

    7 action settlement under federal law. The parties shall fulfill the terms of the

    8 Settlement as modified by this Order.

    9        2.     The Settlement and this Judgment shall be binding on all individuals
   10 falling with the definition of the Wage Statement Class certified by this Court on

   11 October 12, 2017 (Dkt. 60) with the exception of only those individuals who timely

   12 requested exclusion from the certified class. The Wage Statement Class is defined

   13 as “All non-exempt hourly employees employed by AMN in California who worked

   14 pursuant to a Professional Services Agreement and worked overtime during one or

   15 more pay periods from May 7, 2015 through October 12, 2017.”

   16        3.     The individuals listed in Exhibit 2 to the Settlement (Dkt. 126-6 at pp.
   17 34-37) timely requested exclusion from the Wage Statement Class and are therefore

   18 excluded from the Settlement and this Judgment.

   19        4.     The notice of the Settlement and notice methodology implemented by
   20 the parties following the Order granting preliminary approval of the Settlement (i)

   21 was the best practicable notice under the circumstances; (ii) was reasonably

   22 calculated, under the circumstances, to apprise the Wage Statement Class of the

   23 pendency of the Settlement, their right to object to the Settlement, and their right to

   24 appear at the final fairness hearing; (iii) was due, adequate and sufficient notice to

   25 all persons entitled to receive notice; and (iv) complied fully with all applicable law.

   26        5.     The Court approves class counsel attorneys’ fees in the amount of
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    1 $315,644.38 1 and reimbursement of litigation expenses in the amount of $37,422.49.

    2 Ninety percent of the fees and 100 % of the costs shall be paid in accordance with

    3 any agreement by the Parties. The remaining 10% of the fees shall be paid when

    4 class counsel provides a declaration that all other terms of the settlement have been

    5 implemented and class counsel submits a proposed order to that effect.

    6          6.      The Court approves a class representative service payment to Plaintiff
    7 Verna Maxwell Clarke in the amount of $3,000, which shall be paid in accordance

    8 with the terms of the Settlement.2

    9          7.      The Court approves settlement administration fees and expenses to
   10 CPT Group, Inc. in the amount of $50,000, which shall be paid in accordance with

   11 the terms of the Settlement.

   12          8.      The parties shall bear their own costs and attorneys’ fees except as
   13 otherwise provided in this Order.

   14          9.      Without affecting the finality of this matter, this Court shall retain
   15 exclusive jurisdiction over this action and the parties, including the Wage Statement

   16 Class, for purposes of enforcing the terms and conditions of the Settlement.

   17          10.     The Court enters final judgment in this action.
   18          IT IS SO ORDERED.
   19   DATED: July 8, 2019
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                                                     Honorable Dale S. Fischer
   21                                                UNITED STATES DISTRICT JUDGE
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        The Court concludes that counsel’s costs should be deducted before determining the 25% fee
   24 award

   25 2 Plaintiff states that she was looking for work in the travel nurse industry at the time she became a
      plaintiff in this lawsuit two and a half years ago and was concerned that the suit might make it
   26 difficult for her to find work. That apparently was not the case. She was also aware that she
      might be responsible for some or all of Defendant’s costs if the case were not successful. The
   27 Court finds that risk was virtually non-existent. Nevertheless, Plaintiff documents to a limited
      degree the amount of time spent, including time lost from work, as a result of her efforts in this
   28 case. She is entitled to a service award.


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